 1                                                                          The Honorable Lauren King
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                            NO. 2:25-cv-00244-LK
10                       Plaintiffs,                         JOINT STATUS REPORT
11      v.
12   DONALD J. TRUMP, in his official capacity
     as President of the United States, et al.,
13
                         Defendants.
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15           Pursuant to the Court’s March 6, 2025, Minute Order, Dkt. #241, counsel for the parties to

16   this matter met and conferred on March 14, 2025, at 1:00 p.m. PT and respectfully submit this Joint

17   Status Report.

18   Proposed Next Steps
19           Plaintiffs’ Position: Plaintiffs respectfully request that the Court set a Rule 16(a) pretrial
20   conference. Plaintiffs intend to conduct discovery regarding, inter alia, the factual assertions made
21   in the challenged executive orders, the government interests intended to be served by those orders,
22   and Defendants’ compliance with this Court’s orders since litigation began. Plaintiffs requested that
23   the parties conduct a Rule 26(f) conference on March 14, 2025, but Defendants refused to
24   participate in a 26(f) conference on that date, instead making themselves available only for a
25   conference regarding the instant status report. Plaintiffs also requested that Defendants identify a
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     JOINT STATUS REPORT                                 1              ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                    800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104
                                                                                    (206) 464-7744
 1   date they would be available for a Rule 26(f) conference, noting that under Rules 16(b) and 26(f),
 2   the conference must occur no later than March 24. Defendants represented that they would not make
 3   themselves available for a 26(f) conference by March 24, and refused to provide a date they would
 4   be available.
 5           Plaintiffs intend to prosecute this case toward a final determination which will include
 6   discovery and motions practice before this Court, and likely cross-motions for summary judgment.
 7   Plaintiffs oppose a stay of this Court’s proceedings pending any appeal. The record on the motion
 8   for preliminary injunction is likely to be different from the record on summary judgment or at trial,
 9   and any appellate guidance may have limited usefulness. See California v. Azar, 911 F.3d 558, 584
10   (9th Cir. 2018). That is especially true where, as here, Plaintiffs seek discovery into central questions
11   of fact having to do with Defendants’ interest in the challenged orders and the assertions of fact
12   made in those orders, an issue upon which they have submitted no evidence whatsoever so far.
13   There is no guarantee that an appeal would be fully exhausted prior to when this case is ready for a
14   final merits determination in any event. See Melendres v. Arpaio, 695 F.3d 990, 1003 (9th Cir.
15   2012) (at the time the interlocutory opinion on a preliminary injunction was issued by the Ninth
16   Circuit, “final judgment [was] imminent”); see also Sports Form, Inc. v. United Press Intern., Inc.,
17   686 F.2d 750, 753 (9th Cir. 1982) (“We think it likely that this case, for instance, could have
18   proceeded to a disposition on the merits in far less time than it took to process this appeal.”).
19           Staying proceedings pending appeal would also prevent Plaintiffs from amending their
20   complaint or moving to modify the preliminary injunction should either be necessary to protect their
21   legal interests. Defendants have already shown that they intend to skirt this Court’s orders by
22   whatever means at their disposal (see Dkt. #245-8). These efforts so far are straightforwardly in
23   violation of this Court’s injunction (see generally Dkt. #243), but it is possible, if not likely, that
24   Defendants will undertake new projects to deny gender-affirming care in the Plaintiff States and, if
25   they do, then Plaintiffs should not be barred from requesting additional relief from this Court.
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     JOINT STATUS REPORT                                  2               ATTORNEY GENERAL OF WASHINGTON
                                                                               Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                      800 Fifth Avenue, Suite 2000
                                                                                   Seattle, WA 98104
                                                                                      (206) 464-7744
 1           Moving forward with this case while Defendants appeal the preliminary injunction would
 2   not prejudice Defendants in any way. Defendants raise the specter of thorny discovery disputes, but
 3   simultaneously refuse to even meet for a Rule 26(f) conference to attempt to engage in discovery
 4   cooperatively, as the rules require.
 5           Plaintiffs request a Rule 16(a) pretrial conference to facilitate a speedy and efficient
 6   resolution of this matter.
 7           Defendants’ Position: The Solicitor General has authorized Defendants to appeal this
 8   Court’s preliminary injunction. Because the Ninth Circuit’s decision on appeal is likely to
 9   materially bear on the significant legal issues in this case, Defendants propose that this Court
10   stay district-court proceedings—other than any necessary and jurisdictionally proper
11   proceedings regarding the scope or enforcement of the preliminary injunction—pending
12   resolution of Defendants’ appeal. Although it is unclear whether and why Plaintiffs would need
13   to further amend the complaint while the appeal is pending, Defendants do not object to
14   exempting any proceedings regarding such an amendment from their requested stay. Defendants
15   further propose that the parties file another joint status report within 14 days of the conclusion
16   of all appellate proceedings to propose next steps in the case. 1
17           Defendants’ forthcoming appeal implicates important legal issues that the parties and the
18   Court will likely have to address in future proceedings, including whether this case is ripe for
19   review, the proper interpretation of the challenged Executive Orders, the scope of the President’s
20   Article II authority, the relevance of agencies’ delegated authority to award grants, the
21   appropriate level of review under the Equal Protection Clause, and the validity of the
22   government’s interests intended to be served by the Executive Orders. An appellate decision on
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                Contrary to Plaintiffs’ assertions, Defendants did not refuse to make themselves
24   available for a 26(f) conference should one be required. Rather, Defendants stated that it was
     premature to hold a Rule 26(f) conference in advance of the deadline for the joint status report
25   and before Defendants had decided whether to appeal. Further, Defendants explained that they
     were unable to prepare for and conduct a proper 26(f) conference on the accelerated timeline
26   Plaintiffs proposed.

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                                                                              Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                     800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104
                                                                                     (206) 464-7744
 1   those (and other) issues will thus likely provide the Court and the parties significant aid in the
 2   ultimate resolution of this case. Mobilize the Message LLC v. Bonta, No. 2:21-CV-
 3   05115VAPJPRX, 2021 WL 6104312, at *5 (C.D. Cal. Sept. 17, 2021) (“It would be wise for the
 4   Court to preserve its judicial resources in light of the pending appellate review of issues central
 5   to this case.”).
 6           Pausing proceedings until the conclusion of further review would also defer and
 7   potentially avoid altogether the thorny legal issues surrounding discovery requests aimed at the
 8   White House itself, which would be at odds with the Supreme Court’s admonition that the
 9   “Executive Branch’s interest in maintaining the autonomy of its office and safeguarding the
10   confidentiality of its communications” counsels “judicial deference and restraint” that should
11   “inform the conduct of the entire proceeding, including the timing and scope of discovery.”
12   Cheney v. U.S. Dist. Ct., 542 U.S. 367, 385 (2004); see also Trump v. Vance, 140 S. Ct. 2412,
13   2430 (2020) (similar); La Unión del Pueblo Entero v. Ross, 353 F. Supp. 3d 381, 399 (D. Md.
14   2018) (discovery targeting the White House would “implicate[] a whole set of . . . separation of
15   powers issues, and executive privilege issues”).
16           At the same time, a stay would not prejudice Plaintiffs, as this Court’s preliminary
17   injunction remains in place. Moreover, Defendants’ requested stay would not reach any
18   proceedings necessary for the Court to ensure compliance with its preliminary injunction,
19   including resolution of Plaintiffs’ pending contempt motion. 2 See Pls.’ Mot. Contempt, ECF No.
20   243. Plaintiffs claim that they must have the opportunity to modify the preliminary injunction
21   while the preliminary injunction is on appeal. But “[o]nce a notice of appeal is filed, the district
22   court is divested of jurisdiction over the matters being appealed.” Griggs v. Provident Consumer
23   Discount Co., 459 U.S. 56, 58 (1982) (per curiam); Nat. Res. Def. Council, Inc. v. Sw. Marine
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               For the reasons explained in Defendants’ Opposition to Plaintiffs’ Motion for
25   Contempt, Shortened Time, and Attorney’s Fees, ECF No. 253, Plaintiffs are not entitled to
     discovery on their pending contempt motion. Nor is discovery on “Defendants’ compliance with
26   this Court’s orders since litigation began” justified based on Plaintiffs’ unsupported request.

     JOINT STATUS REPORT                                4              ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                   800 Fifth Avenue, Suite 2000
                                                                                Seattle, WA 98104
                                                                                   (206) 464-7744
 1   Inc., 242 F.3d 1163, 1166 (9th Cir. 2001). To the extent Plaintiffs are concerned about
 2   maintaining the status quo with respect to the preliminary injunction, NRDC, 242 F.3d at 1166,
 3   Defendants reiterate that they have no objection to participating in any necessary and
 4   jurisdictionally proper proceedings regarding the scope or enforcement of the existing
 5   preliminary injunction while other case deadlines are stayed.
 6           Accordingly, Defendants intend to move for a stay of proceedings later this week unless
 7   this Court sua sponte stays proceedings pending further review of its preliminary-injunction
 8   decision. See Landis v. North Am. Co., 299 U.S. 248, 254–55 (1936) (A district court's “power
 9   to stay proceedings is incidental to the power inherent in every court to control the disposition
10   of the causes on its docket with economy of time and effort for itself, for counsel, and for
11   litigants.”).
12           DATED this 17th day of March 2025.
13    NICHOLAS W. BROWN                               NICHOLAS W. BROWN
      Attorney General of Washington                  Attorney General of Washington
14
      /s/ William McGinty                             /s/ Lauryn K. Fraas
15    WILLIAM MCGINTY, WSBA #41868                    LAURYN K. FRAAS, WSBA #53238
      CYNTHIA ALEXANDER, WSBA #46019                  COLLEEN MELODY, WSBA #42275
16    TERA HEINTZ, WSBA #54921                        Assistant Attorneys General
      ANDREW R.W. HUGHES, WSBA #49515                 800 Fifth Avenue, Suite 2000
17    NEAL LUNA, WSBA #34085                          Seattle, WA 98104-3188
      CRISTINA SEPE, WSBA #53609                      (360) 709-6470
18    LUCY WOLF, WSBA #59028                          Lauryn.Fraas@atg.wa.gov
      Assistant Attorneys General                     Colleen.Melody@atg.wa.gov
19    800 Fifth Avenue, Suite 2000                    Attorneys for Physicians Plaintiffs 1-3
      Seattle, WA 98104-3188
20    (360) 709-6470
      William.McGinty@atg.wa.gov
21    Cynthia.Alexander@atg.wa.gov
      Tera.Heintz@atg.wa.gov
22    Andrew.Hughes@atg.wa.gov
      Neal.Luna@atg.wa.gov
23    Cristina.Sepe@atg.wa.gov
      Lucy.Wolf@atg.wa.gov
24    Attorneys for Plaintiff State of Washington
25

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     JOINT STATUS REPORT                              5              ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                 800 Fifth Avenue, Suite 2000
                                                                              Seattle, WA 98104
                                                                                 (206) 464-7744
 1    KEITH ELLISON                                DAN RAYFIELD
      Attorney General of Minnesota                Attorney General of Oregon
 2
      /s/ James W. Canaday                         /s/ Allie M. Boyd
 3    JAMES W. CANADAY (admitted pro hac           ALLIE M. BOYD, WSBA #56444
      vice)                                        Senior Assistant Attorney General
 4    Deputy Attorney General                      Trial Attorney
      445 Minnesota St., Ste. 600                  1162 Court Street NE
 5    St. Paul, Minnesota 55101-2130               Salem, OR 97301-4096
      (651) 757-1421                               (503) 947-4700
 6    james.canaday@ag.state.mn.us                 allie.m.boyd@doj.oregon.gov
      Attorneys for Plaintiff State of Minnesota   Attorneys for Plaintiff State of Oregon
 7

 8    PHIL WEISER                                  ERIC HAMILTON
      Attorney General of Colorado                 Deputy Assistant Attorney General
 9
      /s/ Shannon Stevenson                        MICHELLE BENNETT
10    SHANNON STEVENSON (admitted pro hac          Assistant Branch Director
      vice)
11    Solicitor General                            /s/ Vinita B. Andrapalliyal
      Office of the Colorado Attorney General      VINITA B. ANDRAPALLIYAL
12    1300 Broadway, #10                           Senior Counsel
      Denver, CO 80203                             CHRISTIAN S. DANIEL
13    (720) 508-6000                               Trial Attorney
      shannon.stevenson@coag.gov                   United State Department of Justice
14    Attorneys for Plaintiff State of Colorado    Civil Division, Federal Programs Branch
                                                   1100 L Street NW
15                                                 Washington, D.C. 20530
                                                   Vinita.B.Andrapalliyal@usdoj.gov
16                                                 Christian.S.Daniel@usdoj.gov
                                                   Attorneys for Defendants
17

18

19

20

21

22

23

24

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     JOINT STATUS REPORT                           6              ATTORNEY GENERAL OF WASHINGTON
                                                                       Complex Litigation Division
     NO. 2:25-cv-00244-LK                                              800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104
                                                                              (206) 464-7744
